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APP# 31806099 , MIN: 1000748-0032806099-5°

LAF

31606099

BALLOON NOTE .

{Fixed Rate}

THIS LOAN IS PAYABLE IN FULL AT MATURITY, YOU MUST REPAY THE ENTIRE
PRINCIPAL BALANCE OF THE LOAN AND UNPAID INTEREST. THEN DUE, LENDER 1S
UNDER NO OBLIGATION TO REFINANCE THE LOAN AT THAT TIME, YOU WILL,
THEREFORE, BE REQUIRED TO MAKE PAYMENT OUT OF OTHER ASSETS THAT YOU
MAY OWN, OR YOU WILL HAVE TO FIND A LENDER, WHICH MAY 8© THE LENDER YOU
HAVE THIS LOAN WITH, WILLING TO LEND YOU THE MONEY. iF YOU REFINANCE THIS
LOAN AT MATURITY, YOU MAY HAVE TO PAY SOME OR ALL OF THE CLOSING COSTS
NORMALLY ASSOCIATED WITH A NEW LOAN EVEN IF YOU OBTAIN REFINANCING FROM
THE SAME LENDER. ,

duly 31, 2006 MANASSAS Virginia
{Date} ICity} : . [State]
10814 CATRON ROAD ,PERRY HALL.MD 21128
{Property Address]

1, BORROWER'S PROMISE TO PAY

In return for a foan that | have received, | promise to pay U.S. $10,000.00 (his amount is called
Principal"), plas interest, to the order of Lendar. Lender is FIRST SAVINGS HORTGAGE CORPORATION. A
VIRGINIA CORPORATION
1 will make all payments under this Note in the form of cash, check oF money order,

| understand that Lender may transfer this Note. Lender or anyone who takes this Note by transfer and who fs entitled
to receive payments under this Note is called the "Note Holder.”
2. INTEREST :

interest will be charged on unpeid principal until the full amount of Principal has been paid. | will pay interest at @
yearly rate of 12.9000 %,

“The Interest rate required by this Section 2 is the rate 1 will pay both before and after any defauitt described in Section

§{B) of this Note.
3. PAYMENTS
{A) Time and Place of Payments ‘
| will pay principal and Interest by making 3 payment every month. - ©

I will make my monthly payments onthe 1st day of each month beginning on September 1, 2006 .
| wil) make these payments every month untit 1 have pald all of the principal and interest and any other charges ceseribed
below that | may owe under this Note. Each monthly payment will be applied as of its scheduled due date and will be
apptied to Interest before Principal. If, on August 32, 2021 , Estil owe amounts under this
Note, | witl pay those amounts in full on that date, which is called the "Maturity Date." .

| will make my monthly payments 8444 WESTPARK DRIVE, 4TH FLOOR, McLEAR, VA z2102

of at a different place If required by the Note Holder.
(8) Amount of Monthly Payments
My monthly payment will be in the arnount of U.S. $102.86

MULTISTATE BALLOON FIXED RATE NOTE - Single family - FANNIE MAE UNIFORM INSTRUMENT Form 3260 1/01
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p.270N (0006), oT MW O60 Vi? MORTGAGE FORMS - (BOO}SZ1-7287 : rie S/H “

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4, BORROWER'S RIGHT TO PREPAY

' | Bave the right to make payments of Principal at any time before they are due, A payment-of Principal only Is known
as & “Prepayment.” When ! make a Prepayment, | will tell the Note Holder in writing that | am doing se. F may not
designate a payment as a Prepayment if | have not made all the monthly payments due under this Note, -

| may make a full Prepayment or partlat Prepayments without paying any Prepayment charge, The Note Holder will
use my Prepayments to reduce the amount of Principal that 1 owe under this Note. However, the Note Halder may apply my
Prepayment to the accrued and unpaid Interest on the Prepayment amount before applying my Prepayment to reduce the
Principal amount of this Note. if | make a partial Prepayment, there will be ne changes in the due date or ih the amount of
ry monthly payment unless the Note Holder agrees in writing to those changes. !

§. LOAN CHARGES . an

if a taw, which appties to this toan and which sets maximum loan charges, fs finally interpreted so that the interest ar
other loan charges collected or to be collected In connection with this loan exceed the permitted limits, then: (a) any such
loan charge shall be reduced by the amount necessary to reduce the charge to the permitted limit; and (6) any sums already
collected from me that exceeded permitted linits wil be refunded to me. The Note Holder may choose to make this refund
by reducing the Principal | owe under this Note ér by making a direct payment to me. If a refund reduces Principal, the
reduction will be treated as @ partial Prepayment. .

6 BORROWER'S FAILURE TO PAY AS REQUIRED

(A) Late Charges for Overdue Payments

if the Note Halder has not received the full amount of any monthly payment by the end of 15 calendar days
after the date H Is due, 1 will pay a lete charge to the Note Holder. The amount of the charge will be

5.9000 % of my overdue payment of principal and interest. 1 will pay this late charge promptly but only
ance on each fate payment.

{B) Defauit .

Hf 1 do not pay the full amount of each monthly payment on the date it fs due, | will be in default.

(C} Notice of Default Loo

If | am in default, the Note Holder may send me a written notice telling me that if | do not pay the overdue amount by
a certain date, the Note Holder may require me to pay immediately the full amount of Principal which has not been paid and
all the interest that 1 owe on that amount, That date must be af least 30 days after the date-on which the notice is mailed to

‘me or delivered by other means. .

(D) No Waiver By Note Holder

Even if, at @ time when | am in default, the Note Holder does not require me to pay immediately in full as described
above, the Note Helder will sti] have the right to do so if | am in default at a fater time. .

(E) Payrnent of Note Holder's Costs and Expenses .

. If the Note Holder has required me to pay immediately in full as described above, the Note Holder will have the right
10 be paid back by me fer all of its costs and expenses in enforcing this Note to the extent net prohibited by applicable law,
Those expenses inchide, for example, reasonable attorneys’ fees.

7. GIVING OF NOTICES

Unies applicable law requires a different method, any notice that must be glven to me under this Note will be given by
delivering it or by railing it by first class mall to me at the Property Address above or at a different address if | give the
Note Holder a notice of my different address. ar

Any notice that must be given to the Note Holder under this Note will be given by mailing it by first class mall to the
Note Holder at the address stated in Section 3(A) above er at a different address if f am given a notice of that different
address, , .

8 OBLIGATIONS OF PERSONS UNDER THIS NOTE - .

if more than one person signs this Note, each person is fully and personally obligated to keep ail of the promises made
in this Note, including the promise to pay the full emount owed, Any person who fs @ guarantor, surety Or endorser of this
Note is also obligated to do these things. Any person who takes over these obligations, including the obligations of a
guarantor, suraty or endorser of this Nota, is also obligated to keep ail of the promises made in this Note. The Note Holder
may enforce its rights under this Note against each person Individually or ageinst all of us together. This means that any one
of us may be required to pay all of the amounts owed under this Note,

9. WAIVERS .

1 and any other person who has obligations under this Note waive the rights of Presentment and Notice of Dishonor.
“Presentment” means the right to require the Note Holder to demand payment of amounts due, “Notice of Dishonor" means
the right to require the Note Holder to give notice to other persons that amounts due have not been paid.

10. UNIFORM SECURED NOTE .

This Note is a unfform instrument with limited variations in some Jurisdictions. In addition to the protections given to
the Note Holder under this Note, a Mortgage, Deed of Trust, or Security Deed {the “Security Instrument"), dated the same
date as this Note, protects the Note Holder from possible losses that might result if | do not keep the promises thet | make in
this Note. ‘That Security Instrument describes how and under what conditions | may ba required to make immediate payment
in full of all amounts | owe under this Note. Some of those conditions read as follews:

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Transfer of the Property or a Beneficial Interest In Borrower. As used in this Sectlon1B, “Interest in the
Property” means any legal or beneficial interest in the Property, including, but not limited to, those beneficial
interests transferred in @ bond for deed, contract for deed, instaliment sales contract or escrow agreement, the

_ intent of which Is the transfer of title by Borrower at a future date to a purchaser.

If alt oF any part of the Property or any Interest in the Property is sold or transferred (or if Borrower is not a
natural person and @ beneficial interest in Borrower is sold or wansferred) without Lender's prior written consent,
Lender may require immediate payment In full of all sums secured by this Security Instrument. However, this
option shall net be exercised by Lender if such exercise is prohibited by Applicable Law.

If Lender exercises this option, Lender shali give Borrower notice of acceleration, The notice shall pravide a
period of not Jess then 30 days from the date the notice is given in accerdance with Section 15 within which
Borrower must pay af] sums secured by this Securlty Instrument, If Borrower falls to pay these sums prior to the

expiration of this period, Lender may invoke any remedies permitted by this Security Instrument without further
notice or demand en Borrower.

WITNESS THE HAND(S) AND SEAL(S) OF THE UNDERSIGNED.

ai PP yl (Seal) icles KF Aleve _ (Seal)

 

 

 

 

 

 

 

 

KEITH B. STEVENS Borrower MELISSEA L.. STEVENS
(Seal) (Seal)
Borrower Borrower
(Seal) 1 {Seai)
Borrower Borrower
{Seal} (Seal)
-Borrower ~-Borroyer

[Sign Original Ordy}

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